                                                                                          FORM 1
                                         Case 18-32123-sgj7   Doc 254
                                                          INDIVIDUAL    Filed
                                                                     ESTATE   07/28/22
                                                                            PROPERTY     Entered
                                                                                      RECORD     07/28/22 13:42:00
                                                                                             AND REPORT                                                    Desc Main                         Page:       1
                                                                       Document      Page 1 of 2
                                                                            ASSET CASES
Case No:          18-32123       SGJ   Judge: STACEY G. JERNIGAN                                                       Trustee Name:                       ROBERT YAQUINTO, JR., TRUSTEE
Case Name:        JRJR33, INC.                                                                                         Date Filed (f) or Converted (c):    10/26/18 (c)
                                                                                                                       341(a) Meeting Date:                11/27/18
For Period Ending: 07/28/22                                                                                            Claims Bar Date:                    02/26/19



                                   1                                    2                         3                          4                        5                                  6
                                                                                         Estimated Net Value
                                                                    Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                            Asset Description                      Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)          OA=554(a) Abandon             the Estate

 1. BBVA COMPASS - CHECKING ACCOUNT                                          0.00                           0.00                                                0.00                  FA
 2. UBS FINANCIAL SERVICES - MARKETABLE SECURITIES                           0.00                           0.00                                               16.85                  FA
 3. UBS FINANCIAL SERVICES - MARKETABLE SECURITIES                           0.00                           0.00                                                0.00                  FA
 4. UBS FINANCIAL SERVICES - MARKETABLE SECURITIES                           0.00                           0.00                                                0.00                  FA
 5. FROST BANK - CHECKING ACCOUNT                                            0.00                           0.00                                                0.00                  FA
 6. DEPOSIT - SKYLINE PARTNERS, LTD, LANDLORD                            1,604.00                       1,604.00                                                0.00                  FA
 7. EQUITY OWNERSHIP                                                    Unknown                             1.00                                                0.00                           1.00
 8. MISC OFFICE FURNISHINGS                                              5,000.00                       5,000.00                                            5,000.00                  FA
 9. MISC OFFICE EQUIPMENT                                              15,000.00                      15,000.00                                            15,000.00                  FA
 10. TRADEMARK: CASPI                                                   Unknown                             0.00                                          177,500.00                  FA
 11. INTERNET DOMAIN NAME                                                    0.00                           0.00                                          177,500.00                  FA
     JRJRNETWORKS.COM
 12. TAX REFUNDS AND UNUSED NET OPERATING LOSSES                    16,000,000.00                 16,000,000.00                                                 0.00                 16,000,000.00
     $80 MILLION NOL - VALUE ON A GO FORWARD BASIS IS
     APPROXIMATELY $16,000,000.
 13. CAUSES OF ACTION AGAINST THIRD PARTIES                         10,000,000.00                 10,000,000.00                                                 0.00                 10,000,000.00
     IN CONNECTION WITH ACQUISITION OF LONGABERGER BY
     JRJR, TAMALA LONGABERGER FAILED TO DISCLOSE A
     SIGNIFICANT LIAIBLITY OF APPROXIMATELY $6-$7 MILLION.
     ESTIMATED VALUE OF $10,000,000. BREACH OF REPS &
     WARRANTIES
 14. CAUSES OF ACTION AGAINST THIRD PARTIES                         30,000,000.00                 30,000,000.00                                                 0.00                 30,000,000.00
     JRJR33, INC. AND AGEL ENTERPRISES, INC. VS. MICHAEL
     BISHOP AND ACTITECH L.P., CASE NO. DC-17-15206. -
     FRAUDULENT INDUCEMENT/BREACH OF FIDUCIARY
 15. CAUSES OF ACTION AGAINST THIRD PARTIES                         30,000,000.00                 30,000,000.00                                                 0.00                  FA
     CLAIM AGAINST YOUNGEVITY FOR CONVERSION OF
     BUSINESS ENTERPRISE INVOLVING THE SALE OF SPICES,
     MEAT RUBS, OLIVE OIL BASED SALAD DRESSINGS,




LFORM1                                                                                                                                                                                                Ver: 22.06b
                                                                                                                 FORM 1
                                              Case 18-32123-sgj7   Doc 254
                                                               INDIVIDUAL    Filed
                                                                          ESTATE   07/28/22
                                                                                 PROPERTY     Entered
                                                                                           RECORD     07/28/22 13:42:00
                                                                                                  AND REPORT                                                                          Desc Main                           Page:       2
                                                                            Document      Page 2 of 2
                                                                                 ASSET CASES
Case No:             18-32123       SGJ     Judge: STACEY G. JERNIGAN                                                                           Trustee Name:                         ROBERT YAQUINTO, JR., TRUSTEE
Case Name:           JRJR33, INC.                                                                                                               Date Filed (f) or Converted (c):      10/26/18 (c)
                                                                                                                                                341(a) Meeting Date:                  11/27/18
                                                                                                                                                Claims Bar Date:                      02/26/19



                                        1                                                    2                            3                           4                        5                                      6
                                                                                                               Estimated Net Value
                                                                                       Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                    Asset Fully Administered (FA)/
                              Asset Description                                       Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                  Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                              Values                  and Other Costs)             OA=554(a) Abandon             the Estate

     VINEGARS, ETC. VIA THEHOME PARTY DIRECT SELLING
     MODEL. IT OPERATED IN AUSTRALIA, NEW ZEALAND THE
     UNITIED KINGDOM, CANADA AND THE U.S. NO LAWSUIT IS
     CURRENTLY PENDING. AT TIME OF CONVERSION ANNUAL
     GROSS REVENUE WAS IN EXCESS OF $18 MILLION.


     ** THE YOUNGEVITY LAWSUIT WAS VOLUNTARILY
     DISMISSED AND BOTH SIDES WALKED AWAY AFTER IT
     BECAME CLEAR THERE WAS NO INSURANCE COVERAGE
     TRIGGERED BY THE CLAIMS ASSERTED ON BEHALF OF
     YOUNGEVITY AND ANY JUDGMENT WOULD BE DIFFICULT
     TO COLLECT
 16. CAUSES OF ACTION AGAINST THIRD PARTIES                                             15,000,000.00                      15,000,000.00                                                   0.00                    15,000,000.00
     CLAIM AGAINST BDO FOR ACCOUNTING ERRORS AND
     OVERBILLING. NO LAWSUIT IS CURRENTLY PENDING.
     (MALPRACTICE AND E&O)
 17. CLAIM IN DANISH BANKRUPTCY CASE (u)                                                          0.00                          16,434.02                                            16,434.02                      FA
 18. D&O SETTLEMENT (u)                                                                           0.00                        1,600,000.00                                         1,652,590.51                     FA

                                                                                                                                                                                                     Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                   $101,021,604.00                    $102,638,039.02                                       $2,044,041.38                       $71,000,001.00
                                                                                                                                                                                                     (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   D&O LAWSUIT SETTLED AND PAYMENT RECEIVED. ACTITECH FILED CHAPTER 11 BANKRUPTCY TO AVOID TRIAL. MOTION TO DISMISS
   ACTITECH BANKRUPTCY FILED. SECOND MEDIATION IS BEING COORDINATED. ESTIMATED DATE OF CLOSING IS 03/31/2023.


   Initial Projected Date of Final Report (TFR): 11/01/19           Current Projected Date of Final Report (TFR): 03/31/23




LFORM1                                                                                                                                                                                                                             Ver: 22.06b
